         Case 1:25-cv-00804         Document 1-5         Filed 05/27/25      Page 1 of 3




From: Brent Webster
Sent: Monday, December 2, 2024 1:45:27 PM
To: Josh Reno
Cc: Ralph Molina
Subject: Request for Assistance

Josh,

Based on the attached letter from Judd Stone containing many false statements, I have serious
safety concerns for my family and me. If you’ll recall, we gave Judd the opportunity last year to
resign instead of being fired for credible complaints of sexual misconduct by two female OAG
employees. It appears he is still very much obsessed with me, and given what has transpired in the
past, and things he’s done or told me, I think you’ll understand my fear:

   1. As Judd Stone and Chris Hilton returned to the agency, two women who worked with him
      over the summer asked to immediately meet with me upon learning that Judd and Chris were
      planning to return. Both of these women were long time employees of OAG that had taken a
      leave of absence to join Judd and Chris’s law firm to assist with defending Ken Paxton against
      his baseless and unjust impeachment. In summary, both women asked me how I would
      protect them from Judd and Chris and informed me of Judd having sexually harassed them.
      They were also afraid that Judd might continue his abuse and might physically and/or sexually
      assault or harass them at OAG. They both informed me that they came to fear him as a result
      of working in close quarters with him in a small house that he picked out for them all to do
      impeachment work in. They also expressed their disappointment with Chris Hilton who just
      sat there and watched Judd harass them over the summer without speaking up in their
      defense.
          a. The first female employee came to me on October 13, 2023. I asked Ralph Molina to
             join the conversation with me, so that I had a witness. Through many tears, she told me
             stories of Judd discussing sexual things with her, specifically regarding a disturbing
             sexual fantasy Judd had about me being violently anally raped by a cylindrical asteroid
             in front of my wife and children. According to this employee, Judd publicly described
             this in excruciating detail over a long period of time, to a group of OAG employees,
             Office of the Governor employee(s), federal judges, and other non-government
             employees at a table. Chris Hilton was present for this conversation. The female
             employee conveyed that she was so disgusted by the violent sexual nature of the
             discussion that she left the table to get away from it. When she came back, people at
                                                                                                    EXHIBIT

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            Case 1:25-cv-00804                  Document 1-5               Filed 05/27/25            Page 2 of 3


                                    the table harassed her, joking that she “couldn’t handle people talking about dicks.”
                                     Chris Hilton was clearly aware that this female employee was uncomfortable, shrugged
                                    at her, and did nothing. The female employee had other concerns about treatment of
                                    women and sexual harassment and exhibited emotional distress as she told me this
                                    story. She tearfully expressed to me that she could never work with Chris or Judd ever
                                    again. We finished the long conversation at the close of business. I was so disturbed by
                                    the violent sexual fantasies about me that I took the weekend to process the news.
                            b. Immediately following this, on Monday, a second female employee messaged me
                                    asking to meet with me immediately about Judd and Chris. Ralph Molina was not
                                    available, so I asked my Executive Assistant, Gayla Schwab, to be my witness. This
                                    second female employee asked me what I would be doing to protect her from Judd and
                                    Chris now that they were returning to the office. This employee told a different story
                                    of sexual comments being made towards her, specifically one where Judd discussed
                                    people putting sexual organs in her mouth. Chris was present for these comments and
                                    this employee asked Chris for assistance and he apparently dismissed her comments
                                    and placed approval on Judd’s actions. Additionally, this second female employee told
                                    me stories of abuse, where she was cornered alone in offices with Judd and Chris and
                                    was screamed at and berated to “cry” for failing to get Judd and Chris their catered
                                    lunch on time.
                            c. Both women went out of their way to confirm that they knew that AG Paxton knew
                                    nothing about this, and that they wanted to make sure that I told AG Paxton so that he
                                    knew the danger that Judd and Chris posed to them and perhaps other women. Both
                                    women believed that AG Paxton would protect them from Judd and Chris. (As you will
                                    note later, AG Paxton did take immediate action once he learned of the horrifying
                                    conduct Chris and Judd engaged in).
                                                    i.     This was consistent with my understanding of the impeachment defense as I
                                                            knew that AG Paxton was not present with Stone Hilton at their makeshift
                                                            office, and he predominantly was working with Tony Buzbee, Dan Cogdell,
                                                            and Mitch Little as his primary defense lawyers.
                            d. On Monday after meeting with the second female employee, I sought immediate legal
                                    advice from HR, General Counsel, Criminal, and other lawyers at my disposal. I also
                                    notified AG Paxton. AG Paxton was shocked and appalled by what he learned and
                                    agreed with the legal advice to take immediate action to prevent future harm to these
                                    women.
                            e. It was decided that the allegations were credible and of such nature that immediate
                                    action had to be taken. Eventually Judd was confronted with the allegations against
                                    them, and promptly admitted that all of the allegations were true and that the actions
                                    described by the two females did indeed happen. Since they were both back at the
                                    office, we had to move fast with the termination to protect both women and other
                                    female employees at OAG. No further investigation into the allegations was necessary
                                    given that Judd had admitted to the conduct at issue. State law requires that the OAG
                                    and managers immediately take action to stop sexual harassment, and failure to take
                                    immediate action could result in financial liability for managers and for the OAG.  
                                    Additionally, Pursuant to legal advice from HR, it is customary to allow people to resign
                                    in lieu of termination. Judd and Chris would be notified that they would be terminated
                                    if they did not resign. Former Deputy First Assistant Grant Dorfman was assigned to
                                    carry out the termination process. Grant Dorfman now serves as a judge, appointed by
                                    Governor Abbott.
                             f. As described above, during the termination process, Judd admitted to Judge Dorfman
                                    that the allegations were true, including the comments about his desires to watch me
                                    be anally raped in front of my kids, but that it was ok because it was during their time
                                    at a private law firm. Chris did not contest the allegations. Judd and Chris submitted
                                    their resignation at the end of their conversation with Judge Dorfman, on October 17,
                                    2023.
          1. After Judd was promoted to be Solicitor General, I took Judd to lunch at Lupe Tortilla in north
                  Austin to get to know him a little better. I learned about Judd’s life story. He decided to let
                  me know that he had

                                                                                                     He assured me
        that he                                      . Based off the lies in this attached letter he sent, his past
                                                                                                                    EXHIBIT

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         Case 1:25-cv-00804          Document 1-5        Filed 05/27/25      Page 3 of 3


      history with women, and his pedophilic desire to have my children see me raped by a
      cylindrical asteroid, I am concerned that Judd is no longer                   and poses a
      physical threat to me and my family.
   2. Since Judd was terminated, I also have learned that Judd was let go from Senator Ted Cruz’s
      office for complaints from women. I have not had time or reason to corroborate these facts,
      but based on the allegations made by the two OAG employees, I believe there is potential for
      this to be true.
   3. I also learned last year after he was terminated that he has claimed he used be physically
      violent towards sex workers. I do not know if this is true and cannot corroborate it. The
      important thing is, regardless of whether this is true, what kind of person would say this?
   4. He claimed last summer he had a stalker in order to get security, which he was given, and he
      was given a special parking spot that would have been blocked off from access by his alleged
      stalker. We have since learned this was not the case, and there may be some question about
      whether his            , in response to which we gave him government resources, was a
                 episode.
Basically, Judd has shown a pattern of obsessing over me in a disturbing way, something one of the
female complainants expressed to me when she met with me. He fantasizes about me being raped
in front of my minor children, he brags about being a            and being a dangerous violent
person and needing               to keep him restrained, he is willing to sexually and physically
intimidate women that work for him, he has            about people being out to get him, and he has
claimed that he has been violent towards sex workers. The rape fantasies, the bragging about past
violence and current violent tendencies, and          —these are all classic indications of a deeply
unhinged obsessive human being who is one missed                 or bad day away from murder.

Thank you,
Brent Webster
First Assistant Attorney General of Texas




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